         Case 3:17-mj-00198-SALM Document 9 Filed 09/22/21 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

IN RE: SEARCH WARRANT                                 Case No: 3:17-mj-198 (SALM)

                                                      September 22, 2021



        MOTION TO (1) UNSEAL CASE AND ALL DOCUMENTS EXCEPT THE
        SEARCH WARRANT AFFIDAVIT, AND (2) CONTINUE SEALING THE
              SEARCH WARRANT AFFIDAVIT FOR SIX MONTHS

       In accordance with Rule 57 of the Local Rules of Criminal Procedure, the Government

respectfully requests that the Court unseal this case and all the documents in this case except for

Doc. #1-1, which is the affidavit (the “SW Affidavit”) in support of the search warrant application.

With respect to the SW Affidavit, the Government respectfully requests that the Court continue

sealing the SW Affidavit for an additional period of six months, until March 22, 2022.

       On February 22, 2017, the Court issued a search warrant in this case and ordered the case

and all documents to be sealed until further order of the Court. The Court also issued a non-

disclosure order, which expired on February 22, 2018. On August 18, 2021, the Court entered an

Order directing the Government to file, on or before September 22, 2021, either “(a) a motion to

unseal this matter, or (b) a motion requesting continued sealing of particular documents or, in

extraordinary circumstances, the entire matter.”

       The non-disclosure order in this matter has expired. Accordingly, continued sealing of the

docket and the documents in this case is no longer necessary, except for the SW Affidavit. Aside

from the SW Affidavit, none of the documents in the case reveal the identity of the target of the

investigation or discuss the other investigative steps that law enforcement has undertaken in the

investigation.
          Case 3:17-mj-00198-SALM Document 9 Filed 09/22/21 Page 2 of 4




       With respect to the SW Affidavit, the Government requests continued sealing for the

following reasons. The SW Affidavit identifies the target of the investigation, the investigative

steps that law enforcement has undertaken, and the evidence that law enforcement has gathered in

its investigation. Based on the information contained in the SW Affidavit, and additional

information obtained during the course of its investigation, the Government charged the target of

the investigation in a sealed criminal complaint and has obtained a warrant for the target’s arrest.

Many of the details in the SW Affidavit are contained in the sealed criminal complaint affidavit.

However, the target has not been apprehended. To the Government’s knowledge, the target is

unaware that he/she is the subject of any investigation.

       Based on the information gathered during the investigation, the Government believes that

the target is a foreign national of and resides in a country that has no extradition treaty with the

United States. The Government further understands that country does not allow for the extradition

of its own nationals. However, the target has previously applied for a visa to travel to the United

States with his/her family. At the Government’s request, the visa was approved, but the target

ultimately did not travel to the United States on that prior occasion. Disclosure of the SW Affidavit

could dissuade the target from ever traveling to the United States (or to another country that might

be inclined to extradite the target to the United States).

       Moreover, the Government is exploring other options to apprehend the target, such as

luring the target to the United States (or to another country that might be inclined to extradite the

target to the United States). The ongoing COVID-19 pandemic and related travel restrictions have

rendered these alternative options to apprehend the target difficult. With the United States set to

ease travel restrictions for vaccinated individuals in the coming months, the Government will

explore and pursue these alternative options within the period of continued sealing. However, as



                                                 -2-
            Case 3:17-mj-00198-SALM Document 9 Filed 09/22/21 Page 3 of 4




discussed above, disclosure of the SW Affidavit could dissuade the target from ever traveling to

the United States (or to another country that might be inclined to extradite the target to the United

States).

           Accordingly, the government submits that continued sealing of the SW Affidavit is

necessary because disclosure may compromise the investigation, increase the risk of harm for the

law enforcement officers responsible for executing the arrest warrant, and result in the target taking

steps to avoid apprehension and/or deciding not to travel to the United States (or to another country

that might be inclined to extradite the target to the United States).

                                            CONCLUSION

           For the foregoing reasons, the government respectfully requests that the Court

           (1) unseal this case and all of the documents in this case except for Doc. #1-1; and

           (2) order Doc. #1-1 to remain sealed for an additional period of six months, until March

22, 2022.


                                                        Respectfully submitted,

                                                        LEONARD C BOYLE
                                                        ACTING UNITED STATES ATTORNEY

                                                        /s/ Neeraj N. Patel
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                                                  -3-
         Case 3:17-mj-00198-SALM Document 9 Filed 09/22/21 Page 4 of 4




                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 22, 2021, a copy of the foregoing Motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by email to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                              /s/ Neeraj N. Patel
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                                                -4-
